                                                                                  Case 2:24-cv-01770-CDS-MDC             Document 18         Filed 11/14/24      Page 1 of 3




                                                                              1   Kathryn C. Newman
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                                                                              6   Attorney for Defendant, CSL Plasma, Inc.

                                                                              7
                                                                                                               UNITED STATES DISTRICT COURT
                                                                              8
                                                                                                                FOR THE DISTRICT OF NEVADA
                                                                              9
                                                                             10 KIMYADA BROCK, an individual,
Ogletree. Deakins, Nash, Smoak & Stewart, P.C.




                                                                                                                                        Case No.: 2:24-cv-01770-CDS-MDC
                                                                             11                          Plaintiff
                                                                                                                                         STIPULATION AND ORDER TO
                                                                             12   vs.                                                     REMAND TO STATE COURT

                                                                             13   CSL PLASMA, INC., a foreign corporation;                        [ECF Nos. 7, 12, 17]
                                                 10801 w. Charleston blvd.


                                                 Telephone: 702.791.7600




                                                                                  ERICA WILEY, an individual; DOE
                                                    Las vegas, nv 89135




                                                                             14   INDIVIDUALS I through X; ROE
                                                         Suite 500




                                                                                  CORPORATIONS I through X; and DOE
                                                                             15
                                                                                  EMPLOYEE(S) I through X,
                                                                             16
                                                                             17                          Defendants

                                                                             18
                                                                             19         Pursuant to LR IA 6-2, Plaintiff Kimyada Brock (“Plaintiff”) and Defendant CSL Plasma,

                                                                             20 Inc. (“Defendant”), by and through their respective counsel of record, hereby stipulate and agree to
                                                                             21 (1) remand this matter back to State Court; and (2) for withdrawal of Plaintiff’s request for
                                                                             22 attorneys’ fees contained in her Motion for Remand (ECF No. 12).
                                                                             23          The stipulation is entered into for the following reasons:

                                                                             24          1.      The parties have agreed to litigate and attempt to resolve this case in state court.
                                                                             25          2.      Pursuant to the parties’ negotiations, Defendant CSL Plasma, Inc. withdraws its

                                                                             26 request for removal (ECF No. 1) and stipulates to remand. Plaintiff will withdraw her request
                                                                             27 for attorneys’ fees contained in her Motion for Remand (ECF No. 12). Defendant agrees that it
                                                                             28 will not seek to remove this case to the United States District Court, District of Nevada, again.
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                                                                              1          3.      So that the case returns to state court with no motions pending, the parties stipulate

                                                                              2   to the dismissal without prejudice of Defendant’s Motion to Dismiss (ECF No. 7).

                                                                              3          4.       The parties’ agreement is limited to the issues around removal and remand.

                                                                              4   Plaintiff reserves the right to seek attorneys’ fees in state court on grounds unrelated to this
                                                                              5   removal and remand. Defendant may refile its Motion to Dismiss in State Court.
                                                                              6   DATED this 13th day of November, 2024.          DATED this 13th day of November, 2024.
                                                                              7
                                                                                  CHESNOFF & SCHONFELD                            OGLETREE, DEAKINS, NASH, SMOAK & STEWART,
                                                                              8                                                   P.C.
                                                                              9
                                                                                  /s/ Robert Z. DeMarco                           /s/ Kathryn C. Newman
                                                                             10   Robert Z. DeMarco                               Kathryn C. Newman
                                                                                  Nevada Bar No. 12359                            Nevada Bar No. 13733
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                             11   520 South Fourth Street                         10801 W. Charleston Boulevard, Suite 500
                                                                                  Las Vegas, NV 89101                             Las Vegas, NV 89135
                                                                             12
                                                                                  Attorney for Plaintiff, Kimyada Brock           Attorneys for Defendant, CSL Plasma, Inc.
                                                                             13
                                                 10801 w. Charleston blvd.


                                                 Telephone: 702.369.6800




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                                                    Las vegas, nv 89135




                                                                                                                                ORDER
                                                         Suite 500




                                                                             15
                                                                             16          FOR THE FOREGOING REASONS AND GOOD CAUSE APPEARING, IT IS
                                                                             17 ORDERED that, based on the parties’ stipulation [ECF No. 17], plaintiff’s motion to remand
                                                                             18 [ECF No. 12] is GRANTED in part and DENIED in part, plaintiff’s motion to remand is
                                                                             19 GRANTED and plaintiff’s request for attorney’s fees is DENIED.
                                                                             20          The Clerk of Court is directed to REMAND this case to the Eighth Judicial District
                                                                             21 Court, Department 31, Case No. A-24-899936-C, and to close this case. Defendant CSL
                                                                             22 Plasma, Inc. agrees that it will not seek to remove this case to the United States District
                                                                             23 Court, District of Nevada, again.
                                                                             24          Defendant’s pending motion to dismiss [ECF No. 7] is DENIED without prejudice to its

                                                                             25 refiling in state court with necessary revisions to conform to state court rules and include
                                                                             26 applicable state law standards, so this case returns to state court with no motions pending.
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                                                                              1          The Clerk of Court is kindly instructed to print a copy of the docket sheet for this

                                                                              2 case and attach it to this stipulation and remand order mailed to the state court.
                                                                              3
                                                                              4
                                                                              5                                                UNITED STATES DISTRICT JUDGE
                                                                              6
                                                                              7                                                 November 14, 2024
                                                                                                                               DATED
                                                                              8
                                                                              9
                                                                             10
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




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